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  6y KtforscN                                                       chieflnitiJW
                         UNITED S-TATES DISTRICT COURT
                          MIDDLB DISTRICT OF FLORIDA
                                TAMPA DIVISION

  UNIIED STATBS OF AMERICA

         Y                                       CASENo. f,"      \Ll-u- ?3a - SDM ' Af4
  HEAT}IER DARREY


                                  PLEAAG-BEEMMNT

         Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by Roger B.

  Handberg, United States Attorney for the Middle District of Florida, and ttre

  defendant, Heather Darrey, and the attorney for the defendant, Scott Boardman,

  rnutually agree as follows:

        A. Padqdariaei!-tms
        1. Count Pleading Tg
                The defendant shall enter aplea of guilty to Count One of the

  Information. Count One charges the defendant with wire fraud, in violation of 18

  u.s.c, $ 1343.
        2.     Maximum Penalties

                Count One carries a maximum sentence of 20 years of imprisonment, a

  fine of up to $250,000, a term of supervised release of not more than three years, and

  a special assessment of $100. With respect to certain offenses, the Court shall order

  the defendant to make restitution to any victim of the offenses, and with respect to


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 other offenses, the Couft may order the defendant to make restitution to any yictim

 of the offeases, or to the community, as set forth below.

        3.     Elemenls of the Offense

               The defendant acknowledges understa:rding the nature and elements of

 the offense with which defendant has been charged and to which defendant is

 pleading guilty. The elements of Count One are:

               Eirst:        The defendant knowingly devised or participated in a
                             scheme to defraud, or to obtain money or properry by
                             using false pretenses, representations, or promises;

               Second        the false pretenses, representations, or promises were
                             about a material fact;

               Third:        the defendant acted with the intent to defraud; and

               Fourth:       the defendant transmitted or caused to be transmitted by
                             wire or radio some cornmunication in interstate cornmerce
                             to help carry out the scheme to defraud.

        4.     No Further Charges

               If the Court accepts this plea agreement, the United States Attomey's

 Office for the Middle District of Florida agrees not to charge defendant with

 committing any other federal criminal offenses known to the Uflited States

 Attorney's Oflice at the time of the executiolr of this agreemeflt, related to the

 conduct giving rise to this plea agreement.




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         5.      Indicunent W'aiver

                 Defendant will waive the right to be charged by way of indictment

  before a federal grand jury.

         6.                  Restiluti n

                 Purruant to 18 U.S.C, $ 3663A(a), defendant agrees ro make fu1l

  restitution in the amount of at least $7 7 5 ,196 .90 to Church # 1 , and any other victim

  as determined by the Court.

         7   .   Guidelines Sentence

                 Pursuant to Fed. R. Cdm. P. 11(c)(1)@), the Unired States will

  recommend to the Court that the defenrlant be sentenced within the defendant,s

  applicable guidelines range as determined by the Court pursuant to the United States

  Sentencing Guidelines, as adjusted by any departure the United States has agreed to

 recomrnend in this plea agreement. The pa:ties understarrd that such a

 recommendation is not binding on the Court arrd that, if it is not accepted by this

 Court, neither the United States nor tle defendant will be allowed to witidraw from

 the plea agreement, and the defendant will not be allowed to withdraw from the plea

 of guilty.

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                 At the time of,sentencing, and in the event that no adverse information

 is received suggesting such a recommendation to be unwarranted, the United States

 will not oppose the defendant's request to the Court that the defendant receive a t!vo-


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 level downward adjustment for acceptance of responsibility, pursuant to USSG

 $ 3E 1 . 1(a). The defendant unde$tatrds that this recommendation     or request is not

 binding on the Cout, and if not accepted by the Court, the defendant will not be

 allowed to withdraw from the plea.

               Further, at the time of sentencing, if the defendant's offense level prior

 to operation of subsection (a) is level 1,6 or greater, and if the defendant complies

 with the provisions of USSG 0 3E1.1(b) and all terms of this Plea Agreement,

 induding but not limited to, the timely submission of the financial alfidavit

 referenced in Paragraph B.5,, the United States agrees to fi1e a motion pursuant to

 USSG $ 3E1.1(b) for a downward adjustment of one additional level. The defendant

 understands that the determination as to whether the defendant has qualified for a

 downward adjustment of a third level for acceptatrce of responsibility rests solely

 wittr the United States Attorney for the Middle District of Florida, and the defendant

 agrees tlaf the defendant cannot and will not challenge that determination, whether

 by appeal, collateral attack, or otherwise,

        9.    Forfeiture of Assets

              The defendant agrees to forfeit to the United States immediately and

 voluntarily any and all assets and property, or porlions thereof, subject to forfeiture,

 pursuant to 18 U.S.C. 0 981(aXlXC) and 28 U.S.C. $2a61@), whether in the

 possession or control of the United States, the defendant or defendant's nominees.

 The assets to be forfeited specifically include, but are not limited to, the $775,196.90



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  in proceeds the defendant admits she obtained, as the result of the commission of the

  offense to which the defendant is pleading guilty, The defendant acknowledges and

  agrees tiat: (1) the defendant obtained this amount as a rezult of the commission of

  the offense, and (2) as a result of the acts and omissions of the defendant, the

 proceeds have been transferred to third parties and cannot be located by the United

 States upon the exetclse of due diligence. Therefore, the defendant agrees that,

 pursuant to 2l U.S.C. $ 853(p), the Uaited States is erritled to forfeit any other

 properfy of the defendant (substitute assets), up to the amount ofproceeds the

 defendant obtained, as the result ofthe offiense of coaviction. The defendant further

 cons€nts to, and agrees not to oppose, any motion for substitute assets Iiled by the

 United States up to the amount of proceeds obtained ftom commission of the offense

 and consents to the entry of the forfeiture order into tie Treasury Offset Program.

 The defendant agrees that forfeiture of substitute assets as authorized herein sha1l not

 be deemed an alteration of the defendant's sentence.

               T'he defendant additionally agrees that since the criminal proceeds have

 been transferred to third paxties and cannot be located by the Unired States upon the

 exercise ofdue diligence, the preliminary and final orders of forfeiture should

 attthorize the United States Attorney's Office to conduct discovery (including

 depositions, interrogatories, requests for production of documents, and the iszuance

 of subpoenas), pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal

 Procedure, to help identifu, locate, arid forfeit substitute assets.



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               The defendant also agrees to waive all constitutional, statutory, and

 procedural chalienges (including direct appeal, habeas corpus, 01 any other meaus) to

 any forfeiture carried out in accordance with this PIea Agreement on any grounds,

 including that the forfeitue described herein constitutes an excessive fine, was not

 properly noticed in the charging instrument, addressed by the Court at the time of

 the guilty plea, announced at sentencing, or incorporated into the judgment.

               The defendant admits and agrees that the conduct described in the

 Factual Basis below provides a sufficient factual and statutory basis for the forfeiture

 of the properfy sought by the govemment. Pursuant to Rule 32.2(Q@), the

 defendant agrees that the preliminary order of forfeiture will satisfr the notice

 requirement and will be final as to the defendant at the time it is entered. In the

 event the forfeiture is omitted from the judgment, the defendant agrees that the

 forfeiture order may be incorporated into the written judgment at any time pursuant

 to Rule 36.

               The defendant agrees to take all steps necessary to identify and locate

 all substifute assets and to transfer custody ofsuch assets to the United States before

 the defendant's sentencing. To that end, the defendant agrees to make a full and

 complete disclosure of all assets over which defendant exercises control, including all

 assets held by nominees, to execute any doeuments requested by the United States to

 obtain from any other parties by Iawfi:l means any records ofassets owned by the

 defendant, and to consent to the release ofthe deferdant's tax returns for the



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 previous five years. The defendant agrees to be interviewed by the govemment, prior

 to and after sentencing, regarding such assets. The defendant further agrees to be

 poiygraphed on the issue of assets, if it is deemed necessary by the United States.

 The defendant agrees that Federal Rule of Criminal Procedure 11 and USSG $ 181.8

 will not protect from forfeiture assets disclosed by the defendant as part of the

 defendant's cooperation.

               The defendant agrees to take all steps necessary to assist the

 govemment in obtaining clear title to any substitute assets before the defendant's

 sentencing. In addition to providing full and complete information about substitute

 assets, these steps include, but are not limited to, the surrender of title, the signing of

 a consent decree of forfeiture, and signing of any other documents trecessary to

 effectuate such transfers.

              Forfeiture of the defendant's assets shall not be treated as satisfaction of

 any fi.ne, restiturion, cost of imprisonment, or any other penalty the Court may

 impose upon tle defendant in addition to forfeiture.

               The defendant agrees that, in the event the Court detamines that the

 defendant has breached this section of the Plea Agreement, the defendant may be

 found ineligible for a reduction in the Guidelines calculation for acceptaace of

 responsibility and substantial assistance, and may be eligible for an obstruction of

 justice enhancement.




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                The defendant agrees that the forfeifure provisions of this plea

 agreement are intended to, and will, survive the defendant, notwithstarding the

 abatement of any underlying oiminal conviction after the execution of this

 agreement. The forfeitability of any particular property pursuant to this agreement

 sha1l be determined as if the defendant had zurvived, and that determination shall be


 binding upon defendant's heirs, zuccessors and assigns until the agreed forfeiture,

 including the forfeitwe of any substitute assets, is final.

 B.     Standard Terms and Conditions

        I   .   Restitution       al Assessment

                The defendant understands and agrees that the Court, in addition to or

 in lieu of any other penalty, shall order the defendant to make restitution to any

 victim of the offense(s), pursuant to 18 U.S.C. S 36634, for aII offenses described in

 18 U.S.C. S 3663A(c)(l); and the Court may order the defendant to make restitution

 to any victim of the offense(s), pursuant to 18 U.S.C. S 3663, including restitution as

 to all counts charged, whether or not the defendant enters a plea of guilty to such

 counts, and whether or not such counts are dismissed pursuatrt to this agreement.

 The defendant fi.rrther understands that compliance with any restitution payment

 plan imposed by the Court in no way precludes the Urited States ftom

 simultaneously pursuing other statutory remedies for collectiag restitution (28 U.S.C.

 S 3003@X2), including, but not limited to, garnishment and execution, pursuant to




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 the Mandatory Victims Restitution Act, in order to ensure that the defendant's

 restitution obligation is satisfied.

               On each counf to which a plea of guilty is entered, the Court shall

 impose a special assessment pursuant to 18 U.S.C. g 3013. The special assessment is

 due on the date of sentencing.

               The defeadant understands that this agreement imposes no limitation as

 to fine.

        2.     Supervised Release

               The defendant understands that the offense(s) to which the defendant is

 pleading provide(s) for imposition of a term of supervised release upon release &om

 imprisonmeat, and that, if the defendant should violate the conditions of release, the

 defendant would be subject to a further term of imprisonment.

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               The defendant has been advised and understands that, upon conviction,

 a defendant who is not a United States citizen may be remove d from the United

 States, denied citizenship, and denied admission to the United States in the futue.

        4.     Sentencinglnformation

               The United States reserves its right and obligation to report to the Court

 and the United States Probation Office all information concerning the background,

 character, and conduct of the defendant, to provide rcleyarlt factual information,

 including the totality of the defendant's criminal activities, if any, not limited to the



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  count(s) to which defendant pleads, to respond to comments made by the defendant

  or defendant's counsel, and to correct any misstatements or inaccuracies. The

  United States further reserves its right to make any recommendations it deems

  appropiate rcgarding the disposition of this case, subject to any limitations set forth

  herein, if any.

         5.     FinancialDisclosures

                Pursuant to 18 U.S.C. S 3664(dX3) and Fed. R. Crim. P. 32(dX2XAXii),

  the defendant agrees to cornplete and submit to the United States Attorney's Office

  within 30 days of execution of this agxeement an afiidavit reflecting the defendant's

  financial condition. The defendant promises that his financial statement and

  disclosures will be complete, acc$rate and truthfrrl and will indude all assets in

  which he has any interest or over which the defendant exercises control, directly or

  indirectly, including those held by a spouse, dependent, nominee or other third parry.

  The defendant further agrees to execute any documents requested by the United

  States needed to obtain from any third parties any records ofassets owned by the

  defendant, directly or through a norninee, and, by the execution of this Plea

  Agreement, consents to the release of the defendant's tax retums for the previous five

  years. The defendant similarly agrees and authorizes the United States Attomey's

  Office to provide to, and obtain ftom, the United States Probation Office, the

  financial affrdavit, any ofthe defendant's federal, state, and local tax returns, baok

  records and any other financial information conceming the defendant, for the



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  pu{pose of making any recommendations to the Court and for collecting any

  assessments, Iines, restitution, or forfeiture ordered by the Coun. The defendant

  expressly authorizes the United States Attomey's Ofnce to obtain current credit

  reports in order to evaluate the defendant's abiliry to satisfr any financial obligation

  imposed by the Court.

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               It is understood by the parties that the Court is neither a party to nor

 bound by this agreement. The Court may accept or reject the agreement, or defer a

 decision until it has had an opportunity to consider the presentence report prepared

 by the United States Probation Offrce. The defendant understands and

 acknowledges that, although the paities are permitted to make recommendations and

 present arguments to tle Court, the sentence will be deterrnined solely by the Court,

 with the assistance of the United States Probation Office. Defendant firrther

 understands and acknowledges that any discussions between defendant or

 defendant's attomey and the attomey or other agents for the govemment regarding

 any recommendations by the government are not binding on the Court and that,

 should aay recommendations be rejected, defendant will not be permitted to

 withdraw defendant's plea pursuart to this plea agreement. The government

 expressly reserves the right to suppoft and defend any decision that the Court may

 make with regard to the defendant's sentence, whether or not such decision is

 consistent with the government's recommendations contained herein.



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            7                          f
                The defendant agrees that this Court has jurisdiction and authority to

 impose any sentence up to the statutory maximum and expressly waives the right to

 appeal defendant's sentence on aoy ground, inciuding the ground that the Court

 erred in determining the applicable guidelines range pursuant to the United States

 Sentencing Guidelines, except (a) the ground that the sentence exceeds the

 defendant's applicable guidelines range as determined bli the Court pursuant to the

 United States Sentencing Guidelines; (b) the ground that the serrtence exceeds the

 statutory maximum penalty; or (c) the ground that the sentence violates the Eighth

 Amendment to the Constitution; provided, however, that if the govemment exercises

 its right to appeal the sentence imposed, as authorized by l8 U S.C. S 3742O), then

 the defendant is released from his waiver and may appeal the sentence as authorized

 by 18 U.S.C. 937a2@).

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                It is further understood that this agreement is limited to the Offrce of the

 United States Attomey for the Middle District of Florida and cannot bind other

 federal, state, or local prosesrting authorities, although this office will bring

 defendant's cooperation, if any, to the attention of other prosecuting oflicers or

 others, if requested.




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         9.     Filine of Asreement

                This agreement shau be presented to the Court, in ope1l court or in

  camera, in whole or in part, upon a showing of good cause, and filed in this cause, at

  the time of defendant's entry of a plea of guilty pursuant hereto.

         10. Voluntariness
                The defendant acknowledges that defendant is entering into this

  agreement and is pleading guilty freely and voluntarily without reliance upon any

  discussions between the attomey for th€ govemment and the defendant and

  defendant's attomey and without promise of benefit of any kind (other than the

  concessions contained herein), and without threats, force, intim'idation, or coercion

  of any kind. The defendant further acknowledges defendant's understanding of the

  nature of the offense or offenses to which defendant is pleading guilty and the

  elements thereof, induding the penalties provided by law, and defendant's complete

  satisfaction with the representation and advice received from defendant's

  undersigned counsel (if any). The defendant also understands that defendant has the

  right to plead not guifty or to persist in that plea if it has already been made, and that

  defendant has the right to be tried by a jury with the assistance ofcounsel, the right

  to confront and cross-examine the witnesses against defendant, the right against

  compulsory self-incrimination, and the right to compulsory process for the

  attendance of witnesses to testifi/ in defendant's defense; but, by pleading cuilty,

  defendant waives or gives up those rights and there will be no trial. The defendant



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  firrther understands that if defendant pleads guilty, the Court may ask defendant

  questions about the offense or offenses to which defendant plea ded, and if defendant

  answers those questions under oath, on the record, and in the presence of counsel (if

  any), defendant's answers may later be used against defendant in a prosecution for

  perjury or false statement. The defendant also understands that defendant will be

  adjudicated guilty of the offenses to which defendant has pleaded and, if any of such

  offenses are felonies, may thereby be deprived of certain rights, such as the right to

  vote, to hold public office, to serve on a jury, or to have possession of fuearms.

         t   l.   Factual Basis

                  Defendant is pleading guilty because defendant is in fact guilty. The

  defendant certifies that defendant does hereby admit that the facts set forth below are

  true, and were *ris case to go to trial, the United States would be able to prove those

  specific facts and others beyood a reasonable doubt.

                                           FACTS

                  Beginning in or about Oaober 2023, and continuing through in or

  about March 2024, in the Middle District of Florida, and elsewhere, the defendaat,

  Heather Darrey, did knowingly and intentionally devise and intend to devise a

  scheme and artifice to defraud Church #1 to obtain money by false and liaudulent

  pretenses, representations, and promises relating to material facts . Darrey, a resident

  of Tampa, Florida, was employed by Church #l as the Records and Finance

  Manager. Her duties included, but were not limited to, the payment of invoices by



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  generating prinfed bank checls, presenting bank checks for signature to authorized

  account signatories, mailing bank checks for payment, and inputting payments into

  Church #1's accounting software system. Darrey abused her position of trust with

  Church #7by engaging in a scheme in which she created false and fraudulent bank

  checks drawn against Church #1's business bank account at Financial Institution #l

  and made payable to her personal bank account at Financial Instihrtion #2, as well

  as to her mortgage company, creditors, and others, all for her personal enrichment

  and that ofothers.

               Speci.fical1y, Darrey inputted data from invoices into Church #1's

  aceountfuIg software system to prepaxe payments to vendors that had rendered

  services to Church #1, The accounting software allowed Darrey to generate printed

  bank checks in the amounts owed to the vendors. Darrey then preseated the printed

  bank checks to signatories on Church #1's bank account for authorization and

  signature. After the check were authorized and signed, Darrey destroyed the

  authorized printed bank checks and prepared new handwritter bank checks in the

  same amounts as the legitimate ones but made payable to her personal accounts and

  creditors. She then mailed or hand delivered the handwdtten checks to her personal

  banks or creditors. Afterwards, Darrey inputted false and fraudulent data into

  Church #1's accounting software system to make it appear that she had mailed the

  printed bank checks approved to be issued to Church's #1's vendors. Darrey used the




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  illegally obtained funds to pay her credit card bills, her mortgage, and for other

  personal expenses and that ofothers,

                Financial Institutions #l and #2 had servers used to process the

  transactions caused by Darrey through interstate wires. Thus, the transactions caused

  interstate wires.

                For instance, on or about October 19 , 2023, Daffey inputted payment

  data into Church # l's accountiag software rystem from an invoice for electrical

  services rendercd to Church #1. Darrey generated a pdnted check to pay the invoice

  in the amount ot$29,474.12 and presented the check to a signatory on Church #l,s

 Financial Institutios #1 bank account. After the printed bank check was authorized

 and sigrred, Darrey destroyed the check, prepared a handwritten check in the amoutrt

 of $29 ,474.12 made payable to a Financial Institutioa #2 account that Darey

 controlled. Darrey then mailed the check to Financial Institution #2 for deposit,

 which caused an interstate wire transfer in the same amount. Darrey also inputted

 false and fraudulent data into Church #1's accounting software system to make it

 appear that she had paid the invoice for electrical services of 929,47 4.1,2.

               Church #i's finance department detected iregularities in their

 accounting software system and determined that Darrey had issued handwritten

 checks to her personal bank accounts and creditors. Darrey's supervisors questioned

 her on or aboutMarch?7,2024. Ste admitted to stealing funds from Church #1,s

 Financial Institution #i account but attempted to miniurize the amount of money



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  she had illegally obtained. Church #1 then terminated Darrey. The next day, Darey

  emailed the head pastor of Church #l and again admitted to stealing funds from

  Church #I. In addition, she begged that Church #1 would not contact the authorities

  and press charges.

                 An audit of Church #1 's accountitlg software and bank accounts

  revealed an aetua1 loss amount of $775,196.90 in funds stolen by Darrey using the

  above-described fraudulent scheme. A review of Darrey's Financial Institution #2

  bank account statements and other financial records revealed expensive purchases of

  concert and show tickets, luxury goods, payments to her home mortgage, and other

  purchases for herself and others.

                The above is merely a summary of some of the events, some oflthe

  persoff iavolved, and other information relating to this case. It does not include, nor

  is it intended to include, all the events, persons involved, or other information

  relating to this case.

         12. Entire
                This plea agreement constitutes the entire agreement between the

  govemment and the defendant with req)ect to the aforementioned guilry plea and no

  other promises, agreements, or representations exist or have been made to the

 defendant or defendant's attomey with regard to such guilty plea.




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         13. Certification
               The defendant and defendant's counsel certiry that this plea agreement

  has been read in its entirety by (or has been read to) the defendant and that defendant

  fully understands its terms.

        DATED this zs            day of   uav              2024.

                                                 ROGERB. HANDBERG
                                                 United States Attorney


  Heather Darrey
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                                                 €risrio.Pirr"
                                                 Assistant United States Attomey




  S    Bo                                        Rachelle DesVaux Bedke
  A            Defendant                         Assistant United States Attomey
                                                 Chief, Economic Crimes Section




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